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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 DAVID STEBBINS,                              )
                                              )
                      Petitioner,             )
                                              )
               v.                             )   Misc. Action No. 24-478 (MN)
                                              )
 GOOGLE, LLC, et al.,                         )
                                              )
                      Respondents.            )

 DAVID STEBBINS,                              )
                                              )
                      Plaintiff,              )
                                              )
               v.                             )   C.A. No. 24-1173 (MN)
                                              )
 JOHN DOE, d/b/a Skibbidy Dibbidty,           )
                                              )
                      Defendant.              )

 DAVID STEBBINS,                              )
                                              )
                      Plaintiff,              )
                                              )
               v.                             )   C.A. No. 24-1174 (MN)
                                              )
 RUMBLE, INC., et al.,                        )
                                              )
                      Defendants.             )

                                          ORDER

       At Wilmington, this 14th day of November 2024;

       IT IS HEREBY ORDERED that Petitioner/Plaintiff’s Renewed Motion for Authorization

to File Electronically (D.I. 12 in Misc. Action 24-478; D.I. 7 in C.A. No. 24-1173; D.I. 7 in

C.A. No. 24-1174) is GRANTED. Petitioner/Plaintiff is granted e-filing privileges for these
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actions ONLY. Petitioner/Plaintiff shall contact the Clerk’s Office Help Desk at (302) 573-6170

in order to obtain the applicable CM/ECF registration form.




                                                   The Honorable Maryellen Noreika
                                                   United States District Judge




                                               2
